                                    Case 1:19-cr-00725-JPO Document 236-1 Filed 10/11/21 Page 1 of 24



                                                      April and May 2018
Date        From               To                  Detail
4/21        Andrey Kukushkin   Andrey Muraviev     Link to Washington Post article: “Schumer introduces measure to decriminalize
                               Alex Mikhalev       marijuana” (GX 4)
                               Sergei Hrapunov
5/11        Joseph Ahearn      Lev Parnas          Links to ABC News article “Special Counsel probing donations with foreign
1:20 p.m.                                          connection to Trump inauguration” and Marijuana Moment article “Details on
                                                   Bipartisan Marijuana Bill to be Filed Soon” (GX 8)

5/11        Parnas             Ahearn              “Interesting” (GX 8)
1:22 p.m.
5/27        Kukushkin          Igor Fruman         “Igor, We are flying out in a couple of hours. Thank you for your courtesy and I
                                                   hope we will meet soon � ” (GX 14)




                                                                    1
                                     Case 1:19-cr-00725-JPO Document 236-1 Filed 10/11/21 Page 2 of 24

                                                            June 2018
Date         From        To          Detail
6/2          Kukushkin   Fruman      “We will resolve it with you and Andrey will support $:)” (GX 14)
12:03 p.m.
6/2          Fruman      Kukushkin   “Great” (GX 14)
12:05 p.m
6/5          Kukushkin   Muraviev    0:37 Phone call (GX 601)

6/14         Kukushkin   Fruman      “Everything is moving . . . How are you?” (GX 14)
3:21 p.m.
6/14         Fruman      Kukushkin   “Great!!! We are working Washington!!!” (GX 14)
3:22 p.m.
6/20         Fruman      Kukuskhin   Pictures of Parnas, Fruman, and political figures including then-President Donald Trump (GX
11:44-45                             14)
a.m.
6/20         Kukushkin   Fruman      “Aside from you, Lev and Donald, I do not know anyone!” (GX 14)
11:49 a.m.
6/20         Fruman      Kukushkin   “In general, we do not need anyone else anymore!!!” (GX 14)
12:07 p.m.
6/20         Kukushkin   Fruman      “In general, we need Andrey because ‘your guys’ are raking it in just for an appointment” (GX
12:08 p.m.                           14)




                                                                     2
                                    Case 1:19-cr-00725-JPO Document 236-1 Filed 10/11/21 Page 3 of 24

                                                         July 9-19, 2018
Date        From        To          Detail
7/9         Kukushkin   Parnas      “David’s phone number, please!” (GX 89)
3:51 a.m.
7/9         Parnas      Kukushkin   Email address and phone number for “Dave Correia” (GX 89)
4:24 a.m.
7/19        Parnas      Kukushkin   “Call me important” (GX 24)
5:50 p.m.
7/19        Kukushkin   Parnas      1:06 phone call (GX 601)
6:16 p.m.
7/19        Kukushkin   Fruman      “An understanding of the joint activities has been reached. I discussed it with Andrey, but we
6:53 p.m.                           need to show at least one completed action . . . Financial resource: Andryukha . . .” (GX 25)
7/19        Kukushkin   Muraviev    Picture of Fruman, Donald Trump Jr., and Florida governor candidate Ronald DeSantis. “An
6:57 p.m.                           understanding of the joint activities has been reached. . .” (GX 26)
7/19        Fruman      Parnas      Same “An understanding of the joint activities has been reached. . .” message (GX 27)
6:59 p.m.
7/19        Kukushkin   Parnas      Same “An understanding of the joint activities has been reached. . .” message (GX 28)
7:59 p.m.
7/19        Kukushkin   Fruman      “Igor, we are going in circles with Leva. :) Yet I clearly laid everything out. . .We do not pay for
9:30 p.m.                           anyone’s political ambitions or lobbyists at all. We get a License, they get a bonus . . . All the
                                    money invested in the process should be repaid to Andryukha . . .” (GX 25)
7/19        Kukushkin   Parnas      “Leva, we are going in circles… Yet I clearly laid everything out. . .We do not pay for anyone’s
9:37 p.m.                           political ambitions or lobbyists at all. We get a License, they get a bonus . . . All the money
                                    invested in the process must first be repaid to Andryukha . . .” (GX 24)


                                                                    3
                              Case 1:19-cr-00725-JPO Document 236-1 Filed 10/11/21 Page 4 of 24



                                            July 25 to August 31, 2018
Date   From        To         Detail
7/25   Parnas      Correia    Sends a Federal Election Commission (FEC) complaint alleging Parnas, Fruman, and Global
                              Energy Producers (GEP) violated the Federal Election Campaign Act (FECA) by making
                              campaign contributions in the name of another person (GX 90)
8/4    Kukushkin   Muraviev   Link to an article describing Parnas and Fruman as two of GEP’s “executives” and describing
                              FEC complaint “alleging that GEP might be an illegal campaign-finance conduit” (GX 30)
8/6    Fruman      Muraviev   10:30 phone call (GX 1295)
8/31   Fruman      Parnas     Link to article describing guilty plea for “causing foreign money” to be paid to presidential
                              inaugural committee, using a “straw” buyer of inaugural tickets to avoid Inauguration
                              Committee’s refusal to “accept money from foreign nationals because of Federal Election
                              Commission rules.” (GX 32)




                                                              4
                                       Case 1:19-cr-00725-JPO Document 236-1 Filed 10/11/21 Page 5 of 24

                                                         September 5, 2018
Date        From            To             Detail
9/5         Muraviev        Kukushkin      “Bro would you fly back with me on the 10th” (GX 34)
1:59 a.m.
9/5         Kukushkin       Muraviev       “Sure!:) Where are we flying to?” (GX 34)
2:06 a.m.
9/5         Muraviev        Kukushkin      “To Ibiza for 2 days then Moscow” (GX 34)
2:31 a.m.
9/5         David Correia   Parnas         “Ok, here is the deal on Vegas: Igor spoke with Andre earlier and told him we were
3:32 p.m.                                  definitely coming there . . . I just spoke with Andre, he is expecting the same. . . We will
                                           coordinate with Roy today on the attorney general meeting . . .” (GX 53)
9/5         Ahearn          Parnas         Invitation to 9/7 fundraiser in Las Vegas for Adam Laxalt, with special guest Mike Pence
4:02 p.m.                   Correia        (GX 35)
9/5         Kukushkin       Parnas         2:41 FaceTime call (GX 1296)
4:11 p.m.
9/5         Ahearn          Parnas         “Let me know if you guys want to go. I can make sure laxalt speaks highly” (GX 35)
5:46 p.m.                   Correia
9/5         Parnas          Ahearn         “Yes for sure �” “I’ll have Dave call you with info” (GX 35)
5:47-5:52                   Correia
p.m.




                                                                       5
                                       Case 1:19-cr-00725-JPO Document 236-1 Filed 10/11/21 Page 6 of 24

                                                        September 6-10 2018
Date         From        To                              Detail
9/6          Kukushkin   Maisie Rodolico                 Confirms attendance at “Friday’s Laxalt for Nevada event with Vice President
                         Parnas                          Pence.” (GX 133)
                         Fruman
                         Correia
                         Deanna Van Rensburg
9/7                           n/a                        Laxalt for Nevada fundraiser with Vice President Pence (GX 35-A-1; GX 133)
9/8          Muraviev    Kukushkin                       3:10 phone call (GX 601)
1:48 p.m.
9/8          Parnas      Kukushkin                       “Bratva” group chat created. “Feliks, Andrey, Igor, Kukhnya. Brothers, I just
9:58-10:01               Muraviev                        want to
p.m.                     Fruman                          introduce you to each other. . .” (GX 38)
                         Felix Vulis
9/9          Fruman      Parnas                          Address, bank account, and routing number for “F.D. Import & Export Corp.,
                         Kukushkin                       USA, 520 White Plains Rd., Suite 500, Tarrytown, NY 10591” (GX 38)
                         Muraviev
                         Vulis
9/10         Fruman      Kukushkin                       “. . . Let’s do what is really important: 500 to that bank information tomorrow
1:29-1:32                                                . . . We are opening up a company within a week and another 500 for Nevada.
a.m.                                                     . . Every invested dollar yields 100 thousand!!!!”; same address and bank
                                                         account information, and routing number, for F.D. Import & Export Corp. (GX
                                                         33)
9/10         Fruman      Parnas                          “I sent this letter to Kunya:” followed by same “Let’s do what is really
1:33 a.m.                                                important” message. (GX 39)

                                                                       6
                                       Case 1:19-cr-00725-JPO Document 236-1 Filed 10/11/21 Page 7 of 24



                                                       September 11-12 2018
Date        From        To                              Detail
9/11        Kukushkin   Slava Krasov                    “I had a good meeting with Attorney General of Nevada and he is willing to
                                                        help in Vegas. No assurances, just donations ….”; picture of Kukushkin and
                                                        Adam Laxalt (GX 40)
9/12        Correia     Parnas                          “Please see draft” email attaching “Cannabis Schedule and budget” including
1:15 p.m.                                               “Campaign Contributions” and “Funding Schedule” (GX 135)
9/12        Correia     Parnas                          Attaches “Cannabis Schedule and budget”; “Emailed to u also…please read
1:20 p.m.                                               and call me” (GX 53)
9/12        Parnas      Correia                         “Perfect send it to Igor” (GX 53)
1:23 p.m.
9/12        Correia     Parnas                           Attaches “Cannabis Schedule and budget” (GX 42)
1:23 p.m.               Fruman
9/12        Parnas      Fruman                           “This is good send it to them Igor �” (GX 42)
1:24 p.m.               Correia
9/12        Fruman      Parnas                           “Perfect” “I gonna send them right now” (GX 42)
1:34 p.m.               Correia
9/12        Fruman      Kukushkin                        Attaches “Cannabis Schedule and budget” (GX 33)
1:35 p.m.




                                                                       7
                                    Case 1:19-cr-00725-JPO Document 236-1 Filed 10/11/21 Page 8 of 24




                                                      September 13, 2018
Date        From        To                            Detail
9/13        Kukushkin   Muraviev                      Attaches “Cannabis Schedule and budget”; “Tomorrow it’s necessary to set
2:21-2:33               Mikhalev                      the priorities and to confirm the transfer to the guys. Do you already know
p.m.                                                  from where can $500,000 be given to them, Sasha? . . .” (GX 45)

9/13        Fruman      Kukushkin                     “. . . It’s important to transfer 500 . . . The man whom you met with us in
5:34-5:37                                             Nevada called, said that he was personally waiting for us with his deputy,
p.m                                                   who would take over from him when he becomes governor, to discuss our
                                                      issue! . . . one can’t say there is no money . . .” “the transfer must be done
                                                      tomorrow morning!!!!!” (GX 43)
9/13        Fruman      Parnas                        “It’s important to transfer 500 . . .” and “the transfer must be done tomorrow
5:38 p.m                                              morning” messages, followed by “Wrote this text to Kunya.” (GX 44)
9/13        Parnas      Fruman                        “��� super” (GX 44)
5:41 p.m.
9/13        Fruman      Parnas                        “I’ll send the second Andrey a copy!!!” (GX 44)
5:41 p.m.
9/13        Parnas      Fruman                        “Yes” (GX 44)
5:42 p.m.




                                                                    8
                                      Case 1:19-cr-00725-JPO Document 236-1 Filed 10/11/21 Page 9 of 24

                                                        September 14, 2018
Date          From        To                            Detail
9/14          Fruman      Kukushkin                     “What’s new?” (GX 43)
9:49 a.m.
9/14          Kukushkin   Fruman                        “We are waiting for Andrey. I am already at the office with Sasha.” (GX 43)
9:49 a.m.
9/14          Kukushkin   Muraviev                      Address and bank account information, and routing number, for F.D. Import
10:49 a.m.                Mikhalev                      & Export Corp. (GX 45)
9/14          Fruman      Kukushkin                     Phone number for Steven Fruman and sfruman@gmail email address (GX 33)
10:51 a.m.
9/14          Kukushkin   Fruman                        Phone number and email for Alexander Mikhalev (GX 43)
10:54 a.m.
9/14          Fruman      Steven Fruman                 Phone number and email for Alexander Mikhalev (GX 31)
10:58 a.m.
9/14          Fruman      Kukushkin                     Attaches voicemail from Wes Duncan. “This is a message from our friend.”
2:11-12 p.m                                             (GX 43)
9/14          Fruman      Steven Fruman                 “He says that he will send it on Monday for sure. Transferred everything to
2:17 p.m.                                               Switzerland today.” (GX 31)




                                                                      9
                                     Case 1:19-cr-00725-JPO Document 236-1 Filed 10/11/21 Page 10 of 24

                                                    September 16 to 18, 2018
Date         From        To                            Detail
9/16         Kukushkin   Fruman                        Video of assault on street artist “Give me my money back, you think this is a
                                                       joke?” (GX 43)
9/17         Fruman      Kukushkin                     Signed $500,000 loan agreement (GX 43)

9/18         Fruman      Parnas                         Chase account alert regarding “incoming wire transfer of (USD) $500,000.00”
7:25 a.m.                Correia                        (GX42)
9/18         Parnas      Fruman                          “������ see you later going to be a great day” (GX 42)
9:54 a.m.                Correia
9/21         Muraviev    Parnas                         Picture of Time cover: ‘How Putins Oligarch’s Got Inside the Trump Team”
3:21 a.m.                Kukushkin                      (GX 38)
                         Fruman
                         Vulis
9/21         Fruman      Parnas                         “��” (GX 38)
7:45 a.m.                Kukushkin
                         Muraviev
                         Vulis
9/21         Parnas      Fruman                         “����” (GX 38)
12:03 p.m.               Kukushkin
                         Muraviev
                         Vulis




                                                                     10
                                    Case 1:19-cr-00725-JPO Document 236-1 Filed 10/11/21 Page 11 of 24



                                               September 30 to October 1, 2018
Date        From        To                           Detail
9/30        Kukushkin   Correia                      “. . . Spoke to Lev and h suggested Deanne could coordinate my tickets and
1:26 p.m.                                            Hotel in Miami, which would be very convenient.” (GX 52)
9/30        Correia     Parnas                       “Spoke to Andrey . . . He mentionded he wanted Deanna to set up his travel
4:29 p.m                                             . . . so maybe use Amex……Then….Andrey M can wire the $500k….All cool
                                                     with you?” (GX 53)
9/30        Parnas      Correia                      “Have him call Igor don’t use any of our cards” (GX 53)
4:35 p.m
9/30        Correia     Kukushkin                      “. . . Just connect with Igor to confirm travel expenses ao he can confirm with
4:36 p.m.                                              Deanna as to which credit card to usezzz” (GX 52)
9/30        Kukushkin   Correia                        “The Global Energy which received funds for all the ‘charity & support’. I am
5:12 p.m.                                              coming for particular business reasons which are associated with our
                                                       actions.” (GX 52)
9/30        Correia     Kukushkin                      “. . . Our agreement was for $1M for ‘startup’ moneys. The next $500,000 is
7:19 p.m.                                              for the ‘operational budget’, which would include ‘general’ company
                                                       expenses…….such as ‘your’ travel.” (GX 52)
10/1        Kukushkin   Correia                        “. . . please allocate 10% of the existing donation funds for our business
1:25 a.m.                                              necessities.” (GX 52)
10/1        Correia     Parnas                         “Andrey’s response to my last text”: 10/1 1:25 a.m. messsage, including
9:33 a.m                Fruman                         “please allocate 10% of the existing donation funds . . .” (GX 54)
10/1        Kukushkin   Correia                        “. . . If Igor can’t authorize it instantly that why have I authorized the transfer
8:45 p.m.                                              of $500k and all this charade?” (GX 52)

                                                                    11
                                    Case 1:19-cr-00725-JPO Document 236-1 Filed 10/11/21 Page 12 of 24

                                                         October 2, 2018
Date        From        To                             Detail
10/2        Kukushkin   Fruman                         “Igor, I will not be flying to the event . . . We will meet in Vegas. Greetings to
2:56-3:32                                              Lev!” “. . .I have an emergency with my teeth . . .” “I will definitely fly in to
p.m.                                                   Miami and we will meet with De Santis, but already after Nevada.” (GX 58)
10/2        Fruman      Kukushkin                      “Yes. We need to open an account urgently and to deposit 500 there. We
3:36 p.m.                                              have to fork over a check for 250 to him at the event.” (GX 58)
10/2        Kukushkin   Fruman                         “. . . if he sends out a Docusign document, then this is one minute.” (GX 58)
4:56 p.m
10/2        Fruman      Correia                        “Hi don’t know how to use DocuSign. Pls. Call him and provide step by step”
4:58 p.m.               Parnas                         (GX 54)
10/2        Correia     Fruman                         “He has everything” (GX 54)
5:56 p.m.               Parnas
10/2        Correia     Fruman                         “I have Andrey’s signed document and should be fine to open up account
7:17 p.m.               Parnas                         tomorrow.” (GX 54)
10/2        Parnas      Correia                        “Finally” “Let’s get account open tomorrow morning and let get the wire info
7:21-7:23               Fruman                         out” (GX 54)
p.m.




                                                                    12
                                    Case 1:19-cr-00725-JPO Document 236-1 Filed 10/11/21 Page 13 of 24



                                                         October 3, 2018
Date        From        To                             Detail
10/3        Correia     Parnas                         “Gentlemen, bank account is opened and Deanna just sent over a bank
3:14 p.m.               Fruman                         instruction page for the wire information. You should have in your emails
                                                       and WhatsApp I believe.” (GX 54)
10/3        Fruman      Correia                        “I ask andrey to send many to this account!?” (GX 54)
3:34 p.m.               Parnas
10/3        Correia     Parnas                         “Yes…great.” (GX 54)
3:47 p.m.               Fruman
10/3        Fruman      Kukushkin                      Sends Strategic Investment Group, INC Corporate Wire Instructions. “The
6:25-6:42                                              company is ready. The account is open. Waiting for 500” (GX 58)
p.m.
10/3        Kukushkin   Fruman                         “Write to the group please. We have to show actual results for the first 500”
6:45 p.m.                                              (GX 58)
10/3        Fruman      Kukushkin                      “I am reminding about our agreements: 1000 before October 1 . . . The
6:57 p.m.                                              results exist already in Nevada, in Miami and New York will be shortly
                                                       together with documents !!!” (GX 58)
10/3        Fruman      Parnas                         Picture of Fruman with candidate for Florida Governor Ron DeSantis. “Today
9:02-9:05               Kukushkin                      Florida become ours forever!!!! Congratulations!!!!!!” (GX 59)
p.m.                    Muraviev
                        Vulis




                                                                    13
                                   Case 1:19-cr-00725-JPO Document 236-1 Filed 10/11/21 Page 14 of 24



                                                    October 7 and 8, 2018
Date         From      To                            Detail
10/7         Fruman    Parnas                        “Call me. Need to talk.” (GX 60)
10:40 p.m.
10/7         Fruman    Kukushkin                      “ Please don’t forget to send 500 to NewCo!!! ” “ what we are waiting for, it is
10:55 p.m.                                            a past event with the governor . . . He is very grateful and waiting. October
                                                      13 is an event with the governor and AG Nevada . . . .” “ Everything is
                                                      according to the program of preparation of penning up the licensing in the
                                                      key states. . .” “After the 6th, nobody will need anything here !!!!!!!!!!!!!!!!”
                                                      (GX 58)
10/7         Fruman    Parnas                         Sends same 10/7 10:55 messages as sent to Kukushkin (GX 60)
10:55 p.m.
10/8         Correia   Parnas                         “attached DRAFT” attaching “State Campaign Contributions” tables (GX 144)
8:26 p.m.              Fruman
10/8         Correia   Parnas                         “I just emailed both of you my first draft of this document . . . please discuss
8:28 p.m.              Fruman                         between the two of you . . . I will call Lev around 9pm to make the final
                                                      changes” (GX 54)
10/8         Correia   Parnas                         “please see attached. If all good. Please forward on” attaching “Strategic
11:31 p.m.             Fruman                         Investment Group, Inc State Campaign Contributions” tables (GX 146)




                                                                   14
                                    Case 1:19-cr-00725-JPO Document 236-1 Filed 10/11/21 Page 15 of 24



                                                         October 9, 2018
Date        From        To                             Detail
10/9        Fruman      Kukushkin                      “SIG Contribution List” attaching “Strategic Investment Group, Inc State
2:11 p.m.                                              Campaign Contributions” tables (GX 58)
10/9        Fruman      Kukushkin                      “We will fuck up everything again!! Where is the money, Andrey?!” (GX 58)
2:23 p.m.
10/9        Kukushkin   Fruman                         “I think we have not fucked up anything but proceeding in accordance with
2:31 p.m.                                              the plan. Did you send the new input to the group?” (GX 58)
10/9        Fruman      Kukushkin                      “SIG Contribution List” attaching “Strategic Investment Group, Inc State
2:39 p.m.               Parnas                         Campaign Contributions” tables. (GX 61)
                        Muraviev
10/9        Kukushkin   Parnas                         “. . . Our contributions are kind of way too much. It would be good for us to
2:51 pm                 Fruman                         see the results after the first $500 in order to keep sowing more! When will
                        Muraviev                       Nevada, New York, Jersey, and Florida confirm the connections with results?”
                                                       (GX 61)
10/9        Fruman      Kukushkin                      “Andryukha, read the correspondence, bro!!!” “We have time until
3:09-3:10               Parnas                         November 6!!! After that, it’s over!!!!!” (GX 61)
p.m.                    Muraviev
10/9        Fruman      Kukushkin                      Screenshot of text messages to Muraviev: “I understand that 500,000 is a lot
5:31 p.m.                                              of money, but I don’t understand why no one remembers what we agreed
                                                       on?!” “Andryukha!!! Don’t disappoint with the money, brother!!! Tranfer it
                                                       tomorrow!!!!!!” “You can do a credit agreement just like for the last among in
                                                       order not to tormer the banks!!!” (GX 58)

                                                                    15
                                     Case 1:19-cr-00725-JPO Document 236-1 Filed 10/11/21 Page 16 of 24



                                                       October 10-11, 2018
Date         From        To                            Detail
10/10        Kukushkin   Muraviev                      “SIG Contribution List” attaching “Strategic Investment Group, Inc State
1:02-1:03                Mikhalev                      Campaign Contributions” tables. “We need to quickly decide what our moves
p.m                                                    are going to be, friends.” (GX 62)
10/10        Kukushkin   Fruman                        “I spoke with Sanya. he is waiting for approval from Andrey regarding
2:35 p.m.                                              transfer. I confirmed the agreements and explained the situation once more”
                                                       “How is Washington?” (GX 58)
10/10        Fruman      Kukushkin                     “Everything is great!! We are taking over the country!!!!” (GX 58)
2:36 p.m.
10/10        Parnas      Muraviev                       Picture of Parnas with Jared Kushner and Ivanka Trump (GX 64)
7:35 p.m.                Kukushkin
                         Fruman
                         Vulis
10/10        Kukushkin   Fruman                         “I am waiting for confirmation from Andrey/Sasha . . . ” (GX 58)
9:27 pm
10/11        Kukushkin   Fruman                         “ The money from Sasha will be sent tomorrow. It's probably correct that it
2:03 p.m.                                               goes straight to our new company? ” (GX 58)
10/11        Kukushkin   Parnas                         “The money from Sasha will be sent tomorrow. It’s probably correct that it
2:07 p.m.                                               goes straight to our new company?” (GX 66)
10/11        Fruman      Kukushkin                      “I spoke with Andrey, it is better using the old scheme to avoid problems
2:30 p.m.                                               later” (GX 58)
10/11        Mikhalev    Steven Fruman                  “Hi Steven” “I need to send you the second tranche” “Should I use the same
11:28 p.m.                                              company as a borrower?” (GX 48)
                                                                     16
                                    Case 1:19-cr-00725-JPO Document 236-1 Filed 10/11/21 Page 17 of 24

                                                      October 13-19, 2018
Date        From        To                            Detail
10/13       Parnas      Kukushkin                     Link to Fox Business story white-house-to-unveil-federal-cannabis-reform-
4:39-4:40               Fruman                        very-soon-says-top-gop-lawmaker, “We had a good meeting ���” “We
p.m.                    Muraviev                      will be kings if cannabis ���” (GX 61, 64)
                        (Vulis GX 64 only)
10/17       Mikhalev    Steven Fruman                  “Hi Steven, did you get money?” (GX 48)
8:25 a.m.
10/17       Steven      Mikhalev                       “. . .Yes received yesterday” (GX 48)
8:45 a.m.   Fruman
10/17       Kukushkin   Fruman                         “And what do we have in Vegas?” (GX 68)
9:29 p.m
10/17       Fruman      Kukushkin                      “Meeting with the governor and prosecutor” “We are now trying to
9:29-9:32                                              coordinate for Saturday. The President will be in Alco.” (GX 68)
p.m.
10/19       Parnas      Deanna Van Rensburg            “Please find out from kukooshkin if he received an email confirming his Vip
5:37 p.m.                                              entrance to the event tomorrow” (GX 72)
10/19       Van         Kukushkin                      “Did you receive an email confirming your Vip entrance to the event
5:38 p.m.   Rensburg                                   tomorrow??” (GX 73)

10/19       Kukushkin   Van Rensburg                   Image: “Dear Andrey, Congratulations! You are registered as a VIP to attend
5:52 p.m.                                              President Trump rally in Elko, NV” (GX 73)




                                                                    17
                                     Case 1:19-cr-00725-JPO Document 236-1 Filed 10/11/21 Page 18 of 24

                                                         October 20, 2018
Date         From        To                             Detail
10/20        Parnas      Kukushkin                      0:43 phone call (GX 601)
2:18 a.m.
10/20        Parnas      Muraviev                       Picture of Kukushkin, Wes Duncan, and police chief at outdoor event (GX 74)
12:15 p.m.               Kukushkin
                         Fruman
10/20        Kukushkin   Muraviev                       Pictures of Kukushkin, Parnas, and Fruman at outdoor event (GX 74)
12:21-33                 Parnas
p.m.                     Fruman
10/20        Muraviev    Kukushkin                      � (GX 74)
12:54 p.m.               Parnas
                         Fruman
10/20        Parnas      Kukushkin                      Picture of Parnas and Kukushkin together at outdoor event (GX 66)
1:55 p.m.
10/20        Kukushkin   Muraviev                       Pictures of Kukushkin, Parnas, and Fruman at outdoor event. Picture of
3:55-59                  Mikhalev                       Kukushkin, Wes Duncan, and police chief at outdoor event. “The new
p.m.                                                    Attorney General is in the middle.” Video of Donald Trump speaking at
                                                        outdoor event. (GX 75)
10/20        Fruman      Parnas                         Picture of Parnas, Kukushkin, and Fruman together indoors (GX 61)
9:09 p.m.                Kukushkin
                         Muraviev




                                                                     18
                                    Case 1:19-cr-00725-JPO Document 236-1 Filed 10/11/21 Page 19 of 24

                                                     October 22 to 23, 2018
Date        From        To                            Detail
10/22       Duncan      Parnas                        Scheduled meeting with Wes Duncan and Duncan’s law partner (GX 702)
11:15 a.m
10/22       Kukushkin   Parnas                         “I am coming to you in 15 minutes” (GX 91)
2:05 p.m.
10/22       Kukushkin   Muraviev                       “I’ve met with an attorney referred by the Attorney General. . . Currently Las
4:09 p.m.               Mikhalev                       Vegas doesn’t accept any more applications . . . with the help of our ‘new
                                                       friends,’ we shall get a guaranteed response before mid-December!” (GX 77)
10/23       Muraviev    Kukushkin                      “Send a picture here” (GX 78)
2:34 p.m.
10/23       Kukushkin   Muraviev                       Picture of Kukushkin, Wes Duncan, and police chief at outdoor event. “In teh
2:35-36                                                middle is a right hand of Adam who runs for new Attorney General” (GX 78)
p.m.
10/23       Muraviev    Kukushkin                      “Who is in the uniform” (GX 78)
2:38 p.m.
10/23       Kukushkin   Muraviev                       “His local cop” “They control the whole State police, just in case :)” (GX 78)
2:38-39
p.m.




                                                                    19
                                    Case 1:19-cr-00725-JPO Document 236-1 Filed 10/11/21 Page 20 of 24



                                                        October 24, 2018
Date         From        To                            Detail
10/24        Kukushkin   Correia                       “I am on line, Daniel Stewart is waiting for us to conference” (GX 79)
5:55 p.m.
10/24        Kukushkin   Parnas                        “It doesn’t look good from what I hear and Daniels comments . . .” “If we
7:00 p.m.                                              don’t get prime locations within 2-6 months, we are out of the game for a
                                                       long time” (GX 66)
10/24        Kukushkin   Parnas                        “It doesn’t look good from what I hear and Daniels comments . . .” “If we
10:51 p.m.               Muraviev                      don’t get prime locations within 2-6 months, we are out of the game for a
                         Fruman                        long time” “. . . We are 2 months too late to the game unless we change the
                                                       rules.” (GX 81)
10/24        Kukushkin   Parnas                        “We need Governor’s approval and green light to implement this with
11:07 p.m.               Muraviev                      December licenses awards and to include us in per plan . . .” (GX 81)
                         Fruman
10/24        Kukushkin   Parnas                        “. . . now it’s � Lev’s turn! This is what we want: All the counties
11:17 p.m.               Muraviev                      supporting Republicans have, at least, to ask the Governor (by the way of the
                         Fruman                        requesting licenses quota), and he will approve it for our particular group . . .”
                                                       (GX 81)




                                                                    20
                                      Case 1:19-cr-00725-JPO Document 236-1 Filed 10/11/21 Page 21 of 24

                                                       October 25 to 29, 2018
Date          From        To                            Detail
10/25         Kukushkin   Parnas                        “Together with lawyers, we have to write something beautiful and, together
1:29 a.m.                 Muraviev                      with the Attorney General, help the current Governor establish . . .” (GX 81)
                          Fruman
10/25         Kukushkin   Correia                        “They know we need to change the rules from the top but only after the
5:55 p.m.                                                elections. This is our only chance” (GX 79)
10/29         Fruman      Kukushkin                      “I spoke with Andrey. We have to resolve what we are adding regarding our
2:48-2:50                                                program . . . We think 2 million. If there such a possibility it would be really
p.m                                                      correct and timely.” List of states including Florida and Nevada. (GX 82)
10/29         Kukushkin   Fruman                         “Concentrate on the states where we have already poured the money and
2:52 p.m.                                                let’s stick to $1M budget and to meet with all the key people.” (GX 82)
10/29         Van         Kukushkin                      “Hi Andrey, Can you tell me when Adam Laxalt’s team can expect the 2
3:09 p.m.     Rensburg                                   checks totaling $12,500 . . .” (GX 73)
10/29         Kukushkin   Van Rensburg                   “Hi Deanne, the money was transferred ~ $1M to Lev & Igor’s company a long
3:12 p.m.                                                time ago to cover all the contributions as planned.” (GX 73)
10/29         Fruman      Kukushkin                      “Andrey, what kind of mushroom did you eat today!?” “What are these
3:17-23 p.m                                              discussions with our secretary???????” (GX 82)
10/29         Kukushkin   Fruman                         “Did you all lose your mind there?” Screen shot of the 3:09 and 3:12 p.m.
3:33 p.m.                                                texts between Kukushkin and Van Rensburg. (GX 82, GX 82-A-17)
10/29         Fruman      Kukushkin                      “She is my secretary and travel and event coordinations Meneger !!!” “Have
3:37-38 p.m                                              nothing to do with many situations!!!!!!!!” (GX 82)




                                                                      21
                                      Case 1:19-cr-00725-JPO Document 236-1 Filed 10/11/21 Page 22 of 24



                                                 October 30 to November 1, 2018
Date         From         To                          Detail
10/30        Parnas       Kukushkin                   “I jus t got off the phone with Igor and he’s explained to me the situation . . .
11:13 a.m.                Muraviev                    Please let me know when we can schedule meeting to discuss. . .” (GX 83)
                          Fruman
10/30        Muraviev     Parnas                         “In Las Vegas we agreed on the principles of our cooperation . . . It was
11:32 a.m.                Kukushkin                      decided that I will provide $1 million four our future enterprise . . . As of
                          Fruman                         today, I have fulfilled all my obligations completely!” (GX 83)
10/30        Parnas       Kukushkin                      “. . . I don’t want to discuss everything over text . . . We did very thing we are
11:43 a.m.                Muraviev                       supposed to do with part 1 but we never started part 2 – office and personal
                          Fruman                         to do the work . . . If you want I would be happy to have a call with you and
                                                         discuss . . .” (GX 83)
10/30        Kukushkin    Parnas                         “I believe we all have a clarity form day 1 and precise course of action. We
3:05 p.m.                 Muraviev                       have performed everything that we have agreed upon on our end. . . Money
                          Fruman                         transferred by Andrey M to Global Energy was to support the very specific
                                                         people & states (per Igor’s table) in order to obtain green light for licensing
                                                         . . .” (GX 83)
10/31        Kukushkin    Muraviev                       “Fruman is in touch, and Leva’s is hiding somewhere. . . Well, they
11:52 p.m                                                understand everything, they read and understood that we no longer sow and
                                                         expect concrete results from them.” (GX 84)
11/1         Duncan       Fruman                         Receipt for $10,000 donation to Committee to Elect Wes Duncan (GX 155)
7:35 p.m.    Committee
11/1         Laxalt for   Fruman                         Receipt for $10,000 donation to Laxalt for Nevada (GX 156)
7:41 p.m     Nevada
                                                                      22
                                      Case 1:19-cr-00725-JPO Document 236-1 Filed 10/11/21 Page 23 of 24

                                                         November 3, 2018
Date          From        To                             Detail
11/3          Fruman      Muraviev                       Pictures of Parnas with Rudolph Giuliani, and maps. “We are flying from
8:18 a.m. –               Kukushkin                      Michigan to Indiana!!!!!” (GX 86)
12:42 p.m                 Parnas

11/3          Muraviev    Fruman                         � (GX 86)
12:51 p.m.                Kukushkin
                          Parnas
11/3          Fruman      Muraviev                       Parnas, Fruman and Giuliani traveling and meeting political figures (GX 86)
12:53 –                   Kukushkin
8:19 p.m                  Parnas

11/3          Parnas      Muraviev                       “Kunya make sure you get Adam Laxalt the 12,500 !!! I was very embarrassed
8:29 p.m.                 Kukushkin                      just now they said they never received the check from oasis. I don’t
                          Parnas                         understand ?” (GX 86)

11/3          Kukushkin   Parnas                         “Leva, the money where wired to Global Energy in order to cover all the
8:31-8:32                 Muraviev                       donations whatsoever. What does it have to do with Oasis” “You are the one
p.m.                      Fruman                         issuing them the checks NOT me or Andrey” (GX 86)
11/3          Parnas      Muraviev                       “I don’t want to play these games” “You are going to get everybody in
8:33 p.m.                 Kukushkin                      trouble” (GX 86)
                          Parnas



                                                                      23
                                     Case 1:19-cr-00725-JPO Document 236-1 Filed 10/11/21 Page 24 of 24



                                                      November 4 to 8, 2018
Date         From        To                            Detail
11/4-11/5    Fruman      Muraviev                      Pictures of Parnas, DeSantis, Giuliani, other people, maps; video of Parnas,
                         Kukushkin                     Fruman, Giuliani (GX 86)
                         Parnas
11/6                          n/a                       Election Day
11/7         Kukushkin   Parnas                         “Congratulation to everybody on victory in Florida!!! When can we get a
10:27 p.m.               Muraviev                       license and find the stores?” (GX 86)
                         Fruman
11/7         Fruman      Muraviev                       “Already soon!!!!” (GX 86)
10:28 p.m.               Kukushkin
                         Parnas
11/7         Kukushkin   Parnas                         “That certainly makes me happy. :)” (GX 86)
10:29 p.m                Muraviev
                         Fruman
11/7         Fruman      Muraviev                       Pictures of DeSantis, Parnas, and others. (GX 86)
11:11 p.m.               Kukushkin
                         Parnas
11/8         Muraviev    Parnas                         Picture of DeSantis, Parnas, others. “Congratulations on the victory,
12:00 a.m.               Fruman                         everyone!” “A very happy face. )” (GX 86)
                         Kukushkin




                                                                     24
